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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

Delbert Terrill,                              )
                                              )
         and                                  )
                                              )
Brandon Gray Internet Services, Inc,          )
      dba NameJuice.com                       )
                                              )
         Plaintiffs,                          )
                                              )
v.                                            )                         1:18cv936 (TSE/JFA)
                                                              Case No.____________________
                                              )
John Doe,                                     )
                                              )
         and                                  )
                                              )
snn.com                                       )
                                              )
         Defendants.                          )

                                        Verified Complaint

         Comes Now the Plaintiffs, Delbert Terrill (hereinafter Terrill) and Brandon Gray Internet

Services, Inc. dba NameJuice.com (hereinafter NameJuice), by and through their counsel, and

files this complaint against John Doe (Defendant Doe) and <snn.com> (Defendant Domain

Name).



I. Nature of The Suit

         1.      This is an action for violation of the Anticybersquating Consumer Protection Act,

15 U.S.C. § 1125(d) and the Computer Fraud and Abuse Act, 18 U.S.C. § 1030.




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        2.      The Plaintiffs are seeking injunctive and other equitable relief as a result of the

actions of the Defendant John Doe who, using stolen credentials, gained unauthorized access to

Plaintiff Terrill’s domain hosting account on the secure systems of Plaintiff NameJuice and used

this fraudulent access to transfer control of the Defendant Domain Name from Plaintiff Terrill’s

account and therefore disabled Plaintiff Terrill’s ability to use and control his domain name

causing irreparable injury to the Plaintiff Terrill. The unauthorized access by Defendant John

Doe to the secure systems of Plaintiff NameJuice has caused harm to Plaintiff NameJuice

requiring Plaintiff NameJuice to pay for this litigation and requiring additional security measures

and expenditures of resources to resolve.



II. The Parties

        3.      Plaintiff Delbert Terrill is a U.S. Citizen with a primary residence of 3516

Jonathans Harbour Drive, Jupiter, Florida 33477. Plaintiff Brandon Gray Internet Services, Inc.

dba NameJuice.com is an ICANN authorized domain name Registrar and is a Canadian

Corporation with primary offices located at 50 Acadia Avenue, Suite 302, Markham, Ontario,

L3R OB3, Canada. Marilyn Benlolo is the president and sole Officer of Plaintiff Brandon Gray

Internet Services, Inc., dba NameJuice.com.

        4.      Upon information and belief John Doe is an individual, although his true identify

is unknown as the defendant is using a privacy service to conceal his identity.

        5.      The Defendant Domain Name is a <.com> domain name for which the Registry,

Verisign, Inc., is located at 21355 Ridgetop Circle, Lakeside III, Dulles, Virginia 20166 within

this Court’s judicial district.


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        6.         The Plaintiff Terrill acquired <snn.com> on October 16, 1995, has registered it

through October 15, 2018 and, has, since acquisition, used the domain in commerce in his

residential real estate rental business. (See Exhibit 1, pre-theft WHOIS record.)

        7.         On or about November 13, 2017 Defendant Doe, with an address of Domain

Admin, Privacy Protect, LLC, 10 Corporate Drive, Burlington, Maine 01803, telephone number

+1.802-227-4003 and an email address of domain@snn.com using stolen credentials(fake

passport & business license), changed the registrant email address for the Defendant Domain

Name with the Plaintiff NameJuice.com, the Registrar.

        8.         On or about January 18, 2018 Defendant Doe used the false email address

established with the Registrar to transfer the Defendant Domain Name to himself.

(See Exhibit 2, post-theft WHOIS record.)

        10.        Plaintiff Terrill manages his domain name portfolio through a secure account at

NameJuice.com with the email address of chipterrill.wisl.org@gmail.com.

        11.        Plaintiff NameJuice.com maintains secure domain name management accounts

for its clients.

        12         Defendant Doe gained unauthorized access to Plaintiff Terrill’s secure domain

name management system on Plaintiff NameJuice.com’s protected computer systems and

transferred control of the Defendant Domain Name away from the Plaintiff Terrill.

        13.        Defendant Doe has used Privacy Protect, LLC to conceal his true identity.




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III. Jurisdiction and Venue

        14.      This actions arises out of Defendant Doe’s violation of the Anticybersquating

Consumer Protection Act, 15 U.S.C. § 1125(d) and the Computer Fraud and Abuse Act, 18

U.S.C. § 1030.

        15.      This Court has original jurisdiction pursuant to 15 U.S.C. § 1121(a) and 28 U.S.C.

§§ 1331 and 1338(a) and has in rem jurisdiction over the Defendant Domain Name pursuant to

15 U.S.C. § 1125(d)(2)(A) insofar as the registry for the <.com> domain names, Verisign, Inc., is

located within this judicial district.

        16.      Venue is proper in this district pursuant to 15 U.S.C. § 1125(d)(2)(C) as the

subject registry, Verisign, Inc. has its principal place of business in this judicial district. Venue

is further proper pursuant to 28 U.S.C. § 1391(b)(2) as the subjects of the action reside in this

judicial district.

        17.      Defendant John Doe directed the acts complained of towards the district and

utilized instrumentalities in the district in that he gained unauthorized access to Plaintiff Terrill’s

secure domain name management account and associated computer records on Plaintiff

NameJuice.com’s secure computer systems and thereafter, without authorization, caused the

domain name registration records maintained by Verisign, Inc. for the Defendant Domain Name

to be altered so as to transfer control of the Defendant Domain Name away from Plaintiff Terrill.

        18.      The Declaratory Judgment Act, 28 U.S.C. § 2201 provides for a declaration of the

rights of the Plaintiffs in this matter.




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IV. Notice

       19.     Pursuant to the Anticybersquating Consumer Protection Act, 15 U.S.C. §

1125(d)(2)(A)(ii)(II)(aa), notice of this filing of this complaint is being sent to the Defendant at

the postal addresses and email addresses provided on the current WHOIS records as set forth

above, along with a request to waive service pursuant to Federal Rule of Civil Procedures 4(d).

       20.     The Plaintiffs are providing such notice contemporaneously with the filing of this

Complaint. Pursuant to 15 U.S.C. § 1125(d)(2)(A)(ii)(II)(bb), the Plaintiffs will promptly

publish notice of this action as the Court may direct after filing of this Complaint.

       21.     The Plaintiffs’ claim in the alternative for violation of the Computer Fraud and

Abuse Act, and the Court’s jurisdiction over the alternative claim, are proper pursuant to 15

U.S.C. § 1125(d)(3) and (4).

       22.     Joinder of the Defendant Domain Name is proper under Federal Rule of Civil

Procedure 20(a)(2) in that the claims set forth herein arise out of the same set of operative facts

and the questions of law are common as to all claims and Defendants.

V. Factual Background

       23.     Plaintiff Terrill acquired the Defendant Domain Name on October 16, 1995, has

owned the Defendant Domain Name since registration and has used the Defendant Domain

Name in commerce since that date.

       24.     Plaintiff Terrill uses the Defendant Domain Name in his real estate rental

business.




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       25.     The Defendant Domain Name, a three letter <.com> domain names is extremely

valuable and its loss has deprived Plaintiff Terrill of both the income generated by the domain

name as well as the ability to sell the domain name. The Defendant Domain Name is worth at

least $70,000 and likely far more as three letter <.com> domain names have been sold for as little

as $20,000 and as much as $1,000,000.      Plaintiff Terrill has received, and refused an offer to

purchase the domain name for $70,000.

       26      Plaintiff Terrill has used the Defendant Domain Name in commerce since

acquisition and has common law rights in the name.

       27.     Plaintiff Terrill controls his domain name through a secure domain name

management system.

       28.     Plaintiff NameJuice.com maintains the above referenced secure domain name

management system.

       29.     Plaintiff NameJuice.com’s domain name management system, and Plaintiff

Terrill’s domain name management account, are maintained on a protected computer system and

access to the account should be restricted to only that person with Plaintiff Terrill’s username and

password.

       30.     On November 3, 2017, Defendant Doe used fraudulent credentials to take control

of Defendant Terrill’s domain name management account on Plaintiff NameJuice.com’s secure

domain name management system.

       31.     Defendant Doe used the hijacked control of Plaintiff Terrill’s domain name

management account to take control of the Defendant Domain Name.




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        32.      Defendant Doe used his unauthorized control of Plaintiff Terrill’s domain name

management account to change the registration record for the Defendant Domain Name.

        33.      Defendant Domain Name <snn.com> was transferred by Defendant Doe to World

Bizz Domains LLC and away from the Plaintiff’s control.

        34.      Defendant Doe has taken control of the Defendant Domain Name with the intent

to divert the substantial advertising revenue produced by the web site associated with the

Defendant Domain Name to himself.

        35.      Defendant Doe has, upon information and belief, taken control of the Defendant

Domain Name with the intent to resell the Defendant Domain Name.

        36.      Defendant Doe’s registration and use of the Defendant Domain Name is without

Plaintiff Terrill’s authorization.

        37.      Defendant Doe has no intellectual property rights in the Defendant Domain Name.

        38.      Defendant Doe provided misleading or incomplete contact information in the

domain name registration when changing the registration for the Defendant Domain Name.

        39.      Defendant Doe’s actions are in violation of these aforementioned rights of

Plaintiff Terrill.

VI. Causes of Action

                                                Count I
                                     Claim for Declaratory Judgment

        40.      The Plaintiffs repeat and reallege the previous paragraphs as if set forth in full.

Plaintiff Terrill registered the Defendant Domain Name as alleged above and has, since that time,

maintained uninterrupted control over the Defendant Domain Name.



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        41.     Defendant Doe's actions have taken control of the Defendant Domain Name from

Plaintiff Terrill without authorization or permission.

        42.     The Declaratory Judgment Act, 28 U.S.C. § 2201, provides for a declaration of

the rights of Plaintiff Terrill in this matter.

                                             Count II
                        Anticybersquating Consumer Protection Act (ACPA)
                                      15 U.S.C. § 1114(2)(d)

        43.     The Plaintiffs repeat and reallege the previous paragraphs as if set forth in full.

Plaintiff Terrill has owned the Defendant Domain Name for many years, has used it in commerce

to generate substantial income and has common law rights in the mark.

        44.     Defendant Doe’s actions constitute registration, trafficking, or use of a domain

name that is identical to Plaintiff Terrill's trademark, with bad faith intent to profit therefrom.

        45.     Plaintiff Terrill, because of Defendant Doe's actions, is being prevented from

using and exercising control over the Defendant Domain Name.

        46.     Plaintiff Terrill is being harmed through the loss of income, loss of business and

loss of business opportunities unless enjoined.

        47.     Plaintiff Terrill's business reputation and standing is at risk from posting of

improper, illegal, incorrect or otherwise harmful information on the web page associated with his

domain name.

        48.     Plaintiff NameJuice.com’s business reputation and standing is at risk should it

develop a reputation of being subject to intrusions and unauthorized transfer of domain names it

holds as a registrar.




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       49.     Plaintiff Terrill and Plaintiff NameJuice.com, despite diligent inquiry, have been

unable to obtain the accurate identity of a person subject to this Court's jurisdiction who would

have been a defendant in a civil action pursuant to 15 U.S.C. § 1125(d)(2)(A)(i)(I).

       50.     The above described conduct of Defendant Doe, registrant of the Defendant

Domain Name, constitutes unlawful cybersquating in violation of the Anticybersquating

Consumer Protection Act, 15 U.S. C. § 1125(d)(1).

       51.     The above described conduct by Defendant Doe has caused, and is causing, great

and irreparable harm to the Plaintiff and the public, specifically the potential posting of improper,

illegal, incorrect or otherwise harmful information on the web pages associated with its domain

name. Unless permanently enjoined by this Court, said irreparable harm will continue.

Accordingly, pursuant to 15 U.S. C. § 1125(d)(2)(D)(I), Plaintiff Terrill is entitled to an order

transferring the registration of the Defendant Domain Name to Plaintiff Terrill.

                                            Count III
                       Tortuous Interference with Contractual Relationship

       52.     The Plaintiffs repeat and reallege the previous paragraphs as if set forth in full.

Plaintiff Terrill properly entered into a contract with the Plaintiff NameJuice.com, the registrar

for the Defendant Domain Name before the Defendant Domain Name was stolen.

       53.     Defendant Doe has unlawfully taken control of the Defendant Domain Name,

interfering with Plaintiff Terrill's lawful contract rights with Plaintiff NameJuice.com to the

Defendant Domain Name.




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        54.     As a result of the Defendant's acts, the Plaintiffs has been damaged and will

continue to be damaged. The Plaintiffs requests that this Court declare Defendant liable for their

past and any future losses in association with the registration service contracts.

                                              Count IV
                                             Conversion

        55.     The Plaintiffs repeat and reallege the previous paragraphs as if set forth in full.

Plaintiff Terrill has property rights in the Defendant Domain Name.

        56.     Defendant Doe has taken control of the Defendant Domain Name and is

wrongfully exercising control and authority over the Defendant Domain Name.

        57.     The control and authority exercised by Defendant Doe deprives Plaintiff Terrill of

control and the income and business generated from the Defendant Domain Name.

        58.     Defendant Doe is wrongfully exerting dominion over Plaintiff Terrill's property in

denial of his rights.

                                             Count V
                          Violation of the Computer Fraud and Abuse Act

        59.     The Plaintiffs repeat and reallege the previous paragraphs as if set forth in full.

        60.     Defendant Doe knowingly and intentionally accessed Plaintiff Terrill’s domain

name management account on Plaintiff NameJuice’s domain name management system on a

protected computer without authorization and thereby obtained information from the protected

computer in a transaction involving an interstate or foreign communication in violation of 18

U.S.C. § 1030(a)(2)(c).




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       61.     Defendant Doe knowingly, and with intent to defraud, accessed Plaintiff Terrill's

domain name management account on Plaintiff’s NameJuice’s domain name management

system on a protected computer without authorization and obtained information from that

computer which Defendant Doe used to further a fraud and obtain something of value in

violation of 18 U.S.C. § 1030(a)(4).

       62.     Defendant Doe intentionally accessed Plaintiff Terrill's domain name management

account on Plaintiff’s NameJuice’s domain name management system on a protected computer

without authorization and as a result of such conduct caused damage and loss in violation of 18

U.S.C. § 1030(a)(5)(C).

       63.     The Plaintiffs have suffered damages as a result of the conduct complained of and

such conduct has caused a loss to the Plaintiffs during a one-year period aggregating to at least

$5,000.

       64.     As a direct result of the actions complained of, the Plaintiff have suffered, and

continues to suffer, irreparable harm for which the Plaintiffs have no adequate remedy at law and

which will continue unless enjoined.

       WHEREFORE, The Plaintiffs respectfully requests of this court:

I.     That judgment be entered in favor of Plaintiff Terrill on his claims for violation of the

Anticybersquating Consumer Protection Act; and

II.    That judgment be entered in favor of Plaintiff NameJuice.com on its claims for violation

of the Computer Fraud and Abuse Act; and

III.   Enter an order declaring that the Plaintiff Delbert Terrill is the only person with any rights

to the contracts controlling the Defendant Domain Name; and


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